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IN THE UNITED STATES DISTRICT COURT 20 JUN Dug
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FOR THE SOUTHERN DISTRICT OF GEORGIA

 

DUBLIN DIVISION

JAMES DOUGLAS WILKINSON, )
Plaintiff,
e CV 319-045
ANDREW M. SAUL, Commissioner of
Social Security, )
Defendant.
ORDER

After a careful, de novo review of the file, the Court concurs with the Magistrate
Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,
the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,
AFFIRMS the Commissioner’s final decision, CLOSES this civil action, and DIRECTS

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the Clerk to enter final judgment ae é he Commissioner.

  
      

SO ORDERED this “a day of MU” 2020, at Augusta, Georgia.

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UNITED STATES DISTRICT JUDGE

 
